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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                               CASE NO. 1:06-cr-00018-MP-AK

VINCE BERNARD DIXON,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 73, Motion Change Sentencing Date as to Vince

Bernard Dixon, filed by the government. The motion, which is not opposed, is granted.

Sentencing is hereby reset for April 4, 2007, at 10:30 a.m.

       DONE AND ORDERED this 21st day of March, 2007


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
